           Case 1:20-vv-01368-UNJ Document 26 Filed 03/24/23 Page 1 of 1




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1368V
                                        UNPUBLISHED


    MONTRA TURNER,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: February 14, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Vaccine Rule 21(a); Order
    HUMAN SERVICES,                                         Concluding Proceedings

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Mary Eileen Holmes, U.S. Department of Justice, Washington, DC, for Respondent.

                            ORDER CONCLUDING PROCEEDINGS1

       On February 13, 2023, Petitioner filed a Joint Stipulation of Dismissal in the above-
captioned case pursuant to Vaccine Rule 21(a)(1)(B). ECF No. 24.

       Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of Court is hereby instructed that a judgment
shall not enter in the instant case pursuant to Vaccine Rule 21(a).

         IT IS SO ORDERED.
                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master

1
  Because this unpublished Order contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the order will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
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